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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         MIDDLE DIVISION

FARUK ALI IBRAHIM,                         )
                                           )
       Petitioner,                         )
                                           )
v.                                         )   Case No. 4:20-cv-01380-CLM-SGC
                                           )
DIANNE WITTE, et al.,                      )
                                           )
       Respondents.                        )

                          MEMORANDUM OPINION

      The magistrate judge entered a report on October 13, 2020, recommending

the petition for writ of habeas corpus filed by Faruk Ali Ibrahim be dismissed as

moot. (Doc. 5). Although advised of his right to file objections within fourteen days,

Petitioner has not objected or otherwise responded to the report within the time

prescribed.

      After careful consideration of the record in this case and the magistrate judge’s

report, the court ADOPTS the magistrate judge’s report and ACCEPTS her

recommendation. In accordance with the recommendation, the court finds the

motion to dismiss filed by Respondents (Doc. 4) is due to be GRANTED and the

petition is due to be dismissed as MOOT.

      A separate order will be entered.
Case 4:20-cv-01380-CLM-SGC Document 6 Filed 11/09/20 Page 2 of 2




DONE this November 9, 2020.



                          _________________________________
                          COREY L. MAZE
                          UNITED STATES DISTRICT JUDGE
